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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NANCY SAPKO, and               )
KATHLEEN M. PITZER             )
                               )
      Plaintiffs,              )                    Civil Action Number: 06-0893
                               )
      v.                       )
                               )                    JURY TRIAL DEMANDED
RINGGOLD AREA SCHOOL DISTRICT, )
and DWAYNE HOMA, individually  )                    Electronically Filed
                               )
      Defendants.              )

                        PLAINTIFFS’RESPONSE TO
                 DEFENDANTS’MOTION TO QUASH SUBPOENA

        COME NOW the Plaintiffs, Nancy Sapko and Kathleen Pitzer, by and through

their undersigned attorneys, and submit their Response to Defendant Homa’
                                                                        s Motion to

Quash Subpoena as follows:

1.      On October 3, 2007, Defendants filed a Motion to Quash Subpoena served on

Jane Homa, the spouse of Defendant Dwayne Homa.

2.      Defendants’motion attempts to quash a legally valid subpoena based on the

marital communications privilege.

3.      The Federal Rules of Evidence permit the discovery all information “
                                                                           reasonably

calculated to lead to the discovery of admissible evidence. F.R.C.P. 26(b)(1). The

deposition of the spouse of a named Defendant is clearly within the permissible scope of

this rule.

4.      The marital communications privilege is comprised of three elements: (1) the

privilege extends only to words or acts intended as a communication to the other spouse;

(2) the communication must have been made during a valid marriage; and (3) the



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communication must have been made with the intent that it remain confidential. Caplan

v. Fellheimer Eichen Braverman & Kasey, 162 F.R.D. 490, 491 (E.D.Pa. 1995).

5.      If the first two elements are established, then confidentiality is presumed. Id.

6.      The marital privilege cannot be applied as a blanket protection against a

deposition, rather, it must relate to a specific statement or communication.

7.      In order to claim the privilege to withhold information, a party must “
                                                                              make the

claim expressly and shall describe the nature of the … communications … in a manner

that, without revealing information itself privileged or protected, will enable other parties

to assess the applicability of the privilege or protection.”Id. at 492.

8.      Unlike the Defendants’motion, which attempts to preclude all testimony, in order

to assert marital privilege “
                            the nature of the communications must be appropriately

defined … in order for the opposing party to have the opportunity to challenge it and for

this court to determine whether the privilege should apply.”Id.

9.      Courts have permitted questioning of a witness claiming marital privilege so that

this determination can be made. Specifically, questions which include “
                                                                      time, place, and

general subject matter of the communications must be answered in order to determine

whether the communication was intended to be confidential.”Id.

10.     The marital communication privilege is subject to waiver if the communication is

made in the presence of a third party, or if the subject matter of the communication is

disclosed to a third party by one of the spouses. Knepp v. United Stone Veneer, 2007 WL

2597936, *4 (M.D.Pa. Sept. 5, 2007).




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11.     In the instant case, the Plaintiffs are unable to overcome the presumption of

confidentiality because the privilege has been improperly invoked as a blanket protection

against the deposition.

12.     The deposition should be permitted, and the Plaintiffs should be given the

opportunity to determine which, if any, communications are protected by the marital

communications privilege. Moreover, Plaintiffs have the right to inquire of Mrs. Homa

into any and all facts of which she may have firsthand knowledge. Despite Defendants’

contention that she possesses no firsthand knowledge, because she has not yet been

deposed, the Plaintiffs have not had an opportunity to make that determination.

13.     Moreover, the privilege is held by Mrs. Homa, and can only be asserted by her

because she has the ability to waive the privilege. See e.g. Knepp, supra, at *4.

        WHEREFORE, Plaintiffs respectfully request that this Honorable Court deny

Defendants’Motion to Quash Subpoena issued to Mrs. Jane Homa.



                                              Respectfully submitted,



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